   Case 1:14-cr-00214-WMS-HKS          Document 598        Filed 01/18/18   Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

          v.                                                DECISION AND ORDER

LARON THOMPSON,                                                 14-CR-214S-6

                            Defendant.


          1.   On December 15, 2017, the Defendant Laron Thompson pled guilty to Count

1 of the Indictment (Docket No. 1) charging a violation of Title 21 U.S.C. 846 (conspiracy

to possess with intent to distribute, and to distribute, 28 grams or more of cocaine base

within 1,000 feet of public housing authority property).

          2.   On December 8, 2017, the Honorable H. Kenneth Schroeder, Jr. United

States Magistrate Judge, filed a Report and Recommendation (Docket No. 567)

recommending that Defendant’s plea of guilty be accepted and the Defendant adjudicated

guilty.

          3.   This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1) and Local Rule 59(b).

          4.   This Court has carefully reviewed de novo Judge Schroeder’s December

15, 2017, Report and Recommendation, the Plea Agreement, the Indictment, the digital

FTR recording of the proceeding and the applicable law. Upon due consideration, this

Court finds no legal or factual error in Judge Schroeder’s Report and Recommendation,

and will accept Judge Schroeder’s recommendation that Defendant’s plea of guilty be

accepted and that the Defendant be adjudicated guilty as charged.
   Case 1:14-cr-00214-WMS-HKS         Document 598      Filed 01/18/18   Page 2 of 2




      IT HEREBY IS ORDERED, that this Court accepts Judge Schroeder’s December

15, 2017, Report and Recommendation (Docket No. 567) in its entirety, including the

authorities cited and the reasons given therein.

      FURTHER, that the plea of guilty of Defendant Laron Thompson is accepted, and

he is now adjudged guilty of Title 21 U.S.C. §846.

      .

      SO ORDERED.


Dated: January 16, 2018
       Buffalo, New York



                                                       /s/William M. Skretny
                                                        WILLIAM M. SKRETNY
                                                     United States District Judge




                                            2
